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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 19-22908-Civ-COOKE/GOODMAN

QUEENS HOSPITALITY CORP.,
a Florida corporation,

Plaintiff,
VS.

BREAKFAST BITCH, LLC, a
California limited liability company

Defendant.
/
PLAINTIFF’S NOTICE OF FILING PROPOSED MEDIATOR

Pursuant to the Order Setting Civil Trial Date and Pretrial Deadlines and Order of

 

Referral to Mediation [D.E. 27], Plaintiff hereby gives notice that:
1, The parties have conferred and agreed upon Harry R. Schafer, Esq. as a proposed
mediator.
Dated: October 24, 2019
Miami-Dade, Florida

Brenda J.$
iSchino & Schamy, PLLC

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on October 24, 2019, I electronically filed the foregoing
with the Clerk of the Southern District Court using its CM/ECF system, which would then
electronically notify the following CM/ECF participants on this case:

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